     Case: 1:22-cv-02143 Document #: 25 Filed: 05/07/23 Page 1 of 27 PageID #:198




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

Yolanda McDonald                                      )
                                                      )
                Plaintiff,                            )
                                                      )
v.                                                    ) Case No. 22-cv-02143
                                                      )
KAREN YARBROUGH, in her official and                  ) Hon. Judge
individual capacities, LAUREN RAYMOND,                )
in her official and individual capacities,            ) JURY TRIAL DEMANDED
COOK COUNTY CLERK’S OFFICE, and                       )
COOK COUNTY as indemnitor,                            )
                                                      )
                Defendants.                           )

                               FIRST AMENDED COMPLAINT

Plaintiff, YOLANDA MCDONALD (“McDonald”) by and through her undersigned counsel,

GIANNA SCATCHELL, ESQ. of DISPARTI LAW GROUP complains as follows against the

Defendants, KAREN YARBROUGH, LAUREN RAYMOND, ESQ., COOK COUNTY

CLERK’S OFFICE, and COOK COUNTY (collectively “Defendants”).

                                  NATURE OF THE ACTION

1. The Plaintiff files this lawsuit to seek redress for the infringement of her civil rights following

     her attempt to expose her supervisor's misconduct and report suspicious payroll practices

     beyond her immediate superiors due to their unresponsiveness. In retaliation, the Plaintiff

     endured fabricated reprimands, unwarranted meddling in her supervisory responsibilities,

     removal of her supervisory authority, exclusion from departmental meetings, coerced

     justification for her role as a supervisor, capricious referral to the Employee Assistance

     Program (EAP), and ultimately, a suspiciously-time termination rife with pretext.




                                                                                                    1
   Case: 1:22-cv-02143 Document #: 25 Filed: 05/07/23 Page 2 of 27 PageID #:199




                           PARTIES, JURISDICTION, AND VENUE

2. Plaintiff, Yolanda McDonald (“McDonald”) is an African American female who is 50 years

   old and was formerly employed as the Director of Human Resources with the Cook County

   Clerk’s Office. At all times relevant, McDonald was a resident of Cook County, Illinois.

3. Defendant Karen Yarbrough (“Yarbrough”) is a final policymaker and at all times relevant

   served as the chief executive officer for the Cook County Clerk’s Office. Yarbrough engaged

   in the conduct complained of while acting under the color of law. She is sued in her official

   and individual capacities.

4. Defendant Lauren Raymond, ESQ. (“Raymond”) was the Chief of Human Resources for the

   Cook County Clerk’s Office. She engaged in the conduct complained of while acting under

   the color of law and is sued in her official and individual capacities.

5. Yarbrough and Raymond are collectively referred to herein as the “Individual Defendants.”

6. Defendant Cook County (“County”) is and was at all relevant times a municipal corporation

   organized and existing under the laws of the State of Illinois. At all relevant times, Cook

   County administered itself through various departments and offices, including the Cook

   County Clerk’s Office (“Clerk’s Office”).

7. Defendant Cook County Clerk’s Office (“Cook County Clerk’s Office” or “Clerk’s Office”)

   manages Suburban Cook County elections. The Clerk’s Office also oversees the countywide

   systems for birth, death, and marriage certificates for all of Cook County, including Chicago.

   The Clerk’s Office also manages Economic Disclosure and campaign finance report filing for

   all of Cook County.




                                                                                               2
   Case: 1:22-cv-02143 Document #: 25 Filed: 05/07/23 Page 3 of 27 PageID #:200




8. Jurisdiction of this Court arises under 28 U.S.C. §§ 1331, 1337 and pursuant to the Age

   Discrimination in Employment Act of 1967, 29 U.S.C. § 621, et seq., as amended (“ADEA”),

   42 U.S.C. §§ 1983, and 1988. See Levin v. Madigan, 692 F.3d 607 (2012) (holding that Section

   1983 claims are not preempted by the ADEA).

9. Supplemental jurisdiction exists over the state law claims of IHRA and the Illinois

   Whistleblower’s Act s pursuant to 28 U.S.C. § 1367 because the state law counts are so related

   to the other claims in this action so as to form part of the same case or controversy.

10. Venue is proper under 28 U.S.C. § 1391 because the events and omissions giving rise to the

   claims herein have occurred in this judicial district, and because Defendants maintain places

   of operation within this judicial district.

                      EXHAUSTION OF ADMINISTRATIVE RELIEF

11. McDonald filed charges with the Illinois Department of Human Rights (“IDHR”) against

   Defendant Cook County Clerk’s Office (Charge No. 2021-CA-1505), which was cross-filed

   with the Equal Employment Opportunity Commission (“EEOC”)(Charge No. 21 BA 10730).

12. IDHR sent McDonald her right to sue letter on January 25, 2022.

13. Plaintiff received her Right to Sue notice from the EEOC charge on or about February 13,

   2023.

14. In her charges, McDonald asserts that she was discriminated against and retaliated against

   because she engaged in certain protected activity. (Copy of the cross-filed IDHR/EEOC Right

   to Sue letters attached hereto as Group Exhibit 1).

                                  FACTUAL ALLEGATIONS

15. Plaintiff is a highly qualified individual with a background in human resources.




                                                                                               3
   Case: 1:22-cv-02143 Document #: 25 Filed: 05/07/23 Page 4 of 27 PageID #:201




16. She began working as the Human Resources Director for the Cook County Recorder’s Office

   on May 1, 2017.

17. Plaintiff began working as the Director of Human Resources in the Clerk’s Office on

   December 27, 2019.

18. The Clerk’s Office provides government services in Cook County and also serves as the

   election authority for suburban Cook County, maintains real estate records as the County Clerk,

   maintains the County’s Vital Records, calculates the tax rates to be used in the County’s

   property tax bills, administers tax sales, and serves as the County Board of Commissioner.

                             The Toxic Culture at the Clerk’s Office

19. Plaintiff reported to Lauren Raymond, ESQ. (“Raymond”), the Chief of Human Resources

   Department at the Cook County Clerk’s Office.

20. Throughout March 2020 until she was terminated in December 2020, McDonald raised several

   payroll issues to Raymond who had “banned” McDonald from the payroll process.

21. Some of the payroll issues that McDonald raised concerns about include:

       a. Employees who were not receiving paychecks;

       b. Over 100 terminated, separated, or deceased employees that were still listed on the

          Clerk’s payroll;

       c. Employees who were on unpaid leaves or were collecting short-term disability

          pensions that were still receiving a paycheck;

       d. Temporary election workers who were not receiving their paychecks or only

          receiving partial paychecks;

       e. Some employees were not receiving their annual wage increases and cost of living

          (“COLA”) increases because of a purported “wage freeze;” and




                                                                                                4
   Case: 1:22-cv-02143 Document #: 25 Filed: 05/07/23 Page 5 of 27 PageID #:202




       f. Employees who had resigned were being paid personal days upon separation.

22. Despite being shut out from the payroll process, McDonald continued to receive inquiries from

   employees about payroll problems including improper overtime calculations and requests for

   paid time off, and not receiving their annual raises or cost of living increases.

23. McDonald was not able to investigate these matters because she did not have full access to the

   payroll system until August 13, 2020, so she raised these problems with Raymond.

24. The ongoing payroll issues caused tensions between Raymond and McDonald.

25. McDonald was the oldest employee in the human resources department.

26. Raymond, McDonald’s Supervisor was only 39 years old.

27. Raymond would often make ageist remarks including that she has not had good working

   relationships with subordinates that are older than her.

28. Raymond provided McDonald with an example where she had a good working relationship

   with one of her subordinates who was older than her until Raymond became her supervisor

   because the subordinate supposedly did not like answering to a supervisor who was younger

   than her. The woman was involuntarily transferred or terminated.

29. McDonald also experienced various difficulties in working under Raymond including:

       a. Refusing to adjust McDonald’s pay grade from Grade 21 to Grade 23, which led to a

           pay disparity;

       b. Repeatedly criticizing McDonald’s work performance, while interfering with her job

           duties and preventing her from performing her supervisory duties as a director;

       c. Refusing to act on a report McDonald submitted about improperly changed timecards

           and attendance policy violations;

       d. Excluding her from trainings, meetings, and discussions about payroll discrepancies;




                                                                                                 5
   Case: 1:22-cv-02143 Document #: 25 Filed: 05/07/23 Page 6 of 27 PageID #:203




       e. Writing her up for working from home even though she had previously allowed

           McDonald to work from home following Covid-exposure;

       f. Not providing her with a formal performance review as required by the handbook;

       g. Admonishing her for contacting the legal department before “clearing” it with her;

       h. Giving her erroneous write-ups and suspensions and being forced to go for a Mandatory

           EAP with no grounds to do so; and

       i. Not being allowed to choose her own medical provider when she was arbitrarily

           referred to EAP.

30. On various dates, Plaintiff was subjected to disparaging comments made by Raymond

   including that she did not want to “get caught with her panties down” or telling McDonald that

   she acts like “[her] girlfriend that she could never make happy.”

31. McDonald attempted to meet with Raymond several times to address these issues, but

   Raymond discounted and dismissed Plaintiff’s concerns.

32. Raymond’s conduct unreasonably interfered with McDonald’s authority to manage, supervise,

   and discipline her subordinates and caused a hostile environment for McDonald.

                              Covid Outbreaks at the Clerk’s Office

33. Due to the Covid-19 Pandemic, the Human Resources staff was on a hybrid schedule where

   its employees worked from home or worked from the Clerk’s office depending on the day.

34. On or about August 9, 2020, the Clerk’s Office had one of many Covid-19 outbreaks.

35. The next day, on August 10, 2020, McDonald was to report to the Clerk’s Office for work.

36. As such, McDonald reported for work when about one hour into her shift, a temporary election

   employee knocked on her door and told her to leave the building because the Clerk’s Office

   was shut down due to a CoVid-19 outbreak.




                                                                                               6
   Case: 1:22-cv-02143 Document #: 25 Filed: 05/07/23 Page 7 of 27 PageID #:204




37. Raymond never informed McDonald that the Clerk’s Office was shut down even though she

   informed other employees not to come into work and even though she knew McDonald

   suffered from asthma.

                             Mounting Harassment by Raymond

38. McDonald asked Raymond why she never called her and stated that this was a preventable

   occurrence.

39. Raymond responded by calling McDonald and began yelling at her and ultimately hung up the

   phone.

40. McDonald reported this conversation to Yarbrough.

41. On August 12, 2020, McDonald was called into a meeting with the Deputy Clerk, Cedric Giles,

   after Yarbrough discovered that McDonald was trying to quit due to Raymond’s ongoing

   harassment.

42. Giles instructed Raymond to apologize for her harassing behavior and asked McDonald not to

   quit.

43. On or about August 12, 2020, Yarbrough called McDonald after work hours to reiterate the

   discussion at the Giles’ meeting, that Raymond’s behavior was unacceptable, and that

   McDonald would be able to take on supervisory duties.

44. Raymond ultimately apologized to her for being unprofessional.

           McDonald is Finally Granted Access to the Payroll System in August 2020

45. August 13, 2020, McDonald received an invite for a meeting entitled “Departmental Changes”

   from Raymond’s personal email address.

46. Finally, on or about August 13, 2020, Raymond gave McDonald authority to do payroll and

   she began auditing and monitoring employee time and attendance as part of her duties.




                                                                                             7
    Case: 1:22-cv-02143 Document #: 25 Filed: 05/07/23 Page 8 of 27 PageID #:205




47. McDonald reviewed timecard history for two of her subordinates, Jamerson and Twine, and

   discovered several payroll discrepancies including inappropriate punches for Twine, also that

   Twine’s supervisor was listed as a temporary election worker, and that Jamerson was

   overstepping her boundaries by editing Twine’s time card to add her missed punches when she

   arrived late.

48. On August 25, 2020, the comptroller’s office emailed McDonald to confirm if several

   employees at the Clerk’s office were overpaid.

49. McDonald notified Raymond about these payroll discrepancies, and on belief, Raymond did

   not investigate these issues.

50. Instead, Raymond responded by accusing McDonald of “attempting to sabotage her” by

   making her look bad for exposing the payroll problems.

51. Even though McDonald was supposed to be in a supervisory position, Raymond never

   informed McDonald’s subordinates that they were supposed to report to her.

52. On August 16, 2020, McDonald was forced to justify her “vision” for the human resources

   department and why the human resources staff should report to her even though she was in a

   director position.

53. No other director had to justify his or her “vision” for their respective department nor did they

   have to explain why they should have employees report to them.

54. McDonald, again, emailed Yarbrough to inform her about the violative payroll conduct and

   Raymond’s hostile behavior.

                              Election Department’s Payroll Issues

55. On or about September 23, 2020, Shana Porter, manager in the election department, emailed

   Twine and asked her what her plan was to handle the election staff’s “short checks.”




                                                                                                   8
   Case: 1:22-cv-02143 Document #: 25 Filed: 05/07/23 Page 9 of 27 PageID #:206




56. Twine’s reply email inadvertently included McDonald as Raymond deliberately excluded

   McDonald from the election staff’s missing or short paychecks.

57. When McDonald tried to investigate this issue both Twine and Jamerson refused to give her

   information to investigate the matter.

58. When McDonald approached Raymond and Giles about this issue, Raymond threatened to

   write her up for “insubordination.”

59. McDonald told Raymond in an email that she knew she was trying to fire her.

60. Giles told her that McDonald that you had no right to “question Raymond.” Giles made it

   clear that he supported Raymond.

61. On October 8, 2020, McDonald requested the status on the payroll errors from several

   members of the Clerk’s technology department.

62. McDonald continued to have meetings with the Clerk’s technology department to rectify the

   ongoing payroll issues until the date of her termination.

          McDonald’s Investigates Twine’s Continued Timecard Inconsistencies

63. On or October 19, 2020, McDonald reviewed Twine’s timecard and discovered it was again

   replete with incomplete punches.

64. McDonald informed Raymond that Twine was repeatedly tardy, did not punch out for her lunch

   break, and was improperly editing her timecards.

65. McDonald directed Twine to explain the punch card inconsistencies and provide her

   compensatory reports, but Twine refused.

66. Pursuant to the Cook County Handbook, Twine should have been disciplined for excessive

   tardies (CC Handbook § 3 Time and Attendance).




                                                                                            9
   Case: 1:22-cv-02143 Document #: 25 Filed: 05/07/23 Page 10 of 27 PageID #:207




67. Raymond dismissed McDonald’s concern and did not allow McDonald to discipline Twine for

   violating the Clerk’s Office’s time and attendance policy or changing her timecard.

                                 Another Covid-19 Outbreak

68. On October 26, 2020, the Clerk’s Office had another Covid-19 outbreak and McDonald

   discovered that she was exposed.

69. On October 28, 2020, Raymond emailed McDonald and informed her that she was eligible to

   work from home.




70. McDonald requested to work from home on October 29th and 30th because she had not yet

   received the results of her CoVid-19 test.

71. Raymond accused her of putting unnecessary pressure on the human resources department but

   ultimately approved her work from home request.

                        Comptroller’s Investigation of Payroll Errors

72. On October 30, 2020, McDonald emailed Raymond, Yarbrough, Davis, Giles, and Samuel

   about the prior inquiry from the Comptroller’s office regarding the perceived overpayments

   and requested instruction from them on how to proceed.

73. When no one responded, McDonald emailed the Comptroller’s Office with documentation that

   at least $17,260.00 was overpaid to six employees before she took over the payroll.

                              McDonald’s First Sham Write-Up

74. Raymond became irate because McDonald had violated Raymond’s unofficial policy of “what

   happens in HR stays in HR.”


                                                                                          10
   Case: 1:22-cv-02143 Document #: 25 Filed: 05/07/23 Page 11 of 27 PageID #:208




75. On or about October 27, 2020, McDonald called and emailed Yarbrough and requested a

   meeting based on Raymond’s continued harassment and ongoing payroll issues.

76. On belief, Davis made Yarbrough aware of these issues.

77. On October 30, 2020, Raymond issued McDonald her first write-up, but it was backdated to

   October 28, 2020.

78. The write-up was a sham. Raymond was attempting to thwart McDonald’s protected activity

   by claiming that it was “unacceptable for [McDonald] to work from home during a payroll

   processing week for the entire week” even though she had approved McDonald’s ability to

   work from home only two days before and also the Clerk’s CoVid-19 exposure guidelines

   mandated that McDonald work from home after being exposed to CoVid-19.

79. Later that day, McDonald emailed Jamica Davis, Cedric Giles, and Monica Samuel to report

   feeling “ganged up” on by Raymond and her subordinates for putting rules in place for HR

   staff timecards, for being shut out from the current payroll process, for the errors with the

   current payroll process, and now being written up.

80. On October 30, 2020, McDonald met with Scott Kozlov to discuss the ongoing harassment

   and ongoing payroll issues, and he directed McDonald to contact the legal department.

81. On October 30, 2020, the Director, Human Rights and Ethics, Sisavanh Baker emailed

   McDonald and was concerned about the issues that McDonald had reported about Raymond.

82. McDonald’s pre-investigation hearing was on November 2, 2020, and following a written

   summary of her write-up was issued a one-day suspension.

83. On November 2, 2020, Baker emailed McDonald, Kozlov, and Giles to provide them with a

   status on McDonald’s complaint against Raymond.




                                                                                             11
   Case: 1:22-cv-02143 Document #: 25 Filed: 05/07/23 Page 12 of 27 PageID #:209




84. On November 6, 2020, Raymond never informed McDonald about a basic training course on

   the payroll that the other employees of the department had participated in.

                             McDonald’s Second Sham Write-up

85. On November 10, 2020, Raymond issued McDonald a second write-up based on McDonald

   for allegedly not taking her phone calls, which was backdated to October 30, 2020.

86. Indeed, Raymond could have, but did not, email McDonald’s county-issued email address

   requesting a callback.

87. Worse still, the second write-up was based on the same set of facts as the first write-up. So,

   McDonald was being punished twice for the same purported behavior.

88. Raymond also included several pieces of irrelevant and biased language in the write-up that,

   were not true, and there was no reason whatsoever to include such statements in the disciplinary

   writeups except to pave the way for her termination.




                                                                                                12
   Case: 1:22-cv-02143 Document #: 25 Filed: 05/07/23 Page 13 of 27 PageID #:210




89. Plaintiff avers that, after a reasonable opportunity for discovery, Raymond sought to rid her

   from the Human Resource department because of her age as evidenced by Raymond’s

   comments about not being able to work with subordinates older than her.

90. After a reasonable opportunity for discovery, it will be shown that Raymond engaged in a

   pattern of targeting older staff with harassing and cajoling managerial tactics or nonsense

   disciplinary complaints to force them out and replace them with younger staff.

91. On November 11, 2020, McDonald called EAP to seek counseling on how to handle the

   pretextual write-ups and increasing tensions with Raymond.

Complaints to Defendant about Discrimination/Harassment and Retaliation by Defendant

92. On November 17, 2020, McDonald informed Koslov, Giles, and Baker that Raymond was

   creating a hostile work environment.

93. Upon receipt of the complaint, the aforementioned individuals had a duty to make any further

   inquiries into the facts supporting McDonald’s claims of harassment and discrimination and

   to properly investigate such claims per Cook County’s Employment Manual.

94. Each of the two negative evaluations provided to Plaintiff was false, distorted, or misleading.

95. On belief, each of them did little or nothing to investigate First Amended Complaint or

   correct the discrimination and harassment by Raymond.

                            Cook County’s Arbitrary EAP Referral

96. Cook County provides an Employee Assistance Program (“EAP”) to all county employees.

97. On belief, managers have three types of EAP referrals available: educational, informal, or

   mandatory (formal) referrals.

       a. Informal Referrals mean that an employee’s participation is voluntary and that

           feedback will not be provided to Cook County’s contact.




                                                                                                 13
  Case: 1:22-cv-02143 Document #: 25 Filed: 05/07/23 Page 14 of 27 PageID #:211




      b. Formal Referral means that an employee’s participation is strongly suggested, but

          their employment is not dependent on contacting the EAP. Magellan provides one-

          time feedback to Cook County’s contact.

      c. Mandatory Referral means that an employee’s continued employment is contingent

          upon contacting the EAP. Magellan provides continual feedback to Cook County’s

          contact regarding the employee’s compliance with provider recommendations, and up

          to three (3) face-to-face sessions are available.




98. According to the Cook County WorkPlace Support HR Overview, “Mandatory Referrals to

   EAP” occur when an “[e]mployee has been determined to have a substance use disorder

   problem it is also used for a [sic] employee who comes forward to admit a substance abuse

   disorder or a mental health problem.”




                                                                                               14
   Case: 1:22-cv-02143 Document #: 25 Filed: 05/07/23 Page 15 of 27 PageID #:212




99. The employee referred to mandatory EAP also has a choice to find their own provider or go

   through Magellan as the provider selected by Cook County for its employees.

100.   On December 3, 2020, Kozlov referred McDonald to mandatory EAP but never informed

   her of the basis for the referral.

101.   At no time did McDonald display or admit to any substance abuse or mental impairment.

102.   Kozlov only directed McDonald to sign up and register within seven (7) days and sign

   the applicable consent and tender by December 11, 2020, by 4:30 pm.

103.   McDonald informed Kozlov that she completed the tasks.

104.   On or about December 14, 2020, McDonald emailed the legal department to verify the

   purported wage freeze.

105.   James Gleffe, labor counsel for the Cook County Clerk, forwarded McDonald’s email to

   Raymond who then forwarded it to McDonald with an angry message.

106.   Approximately 30 minutes later, Raymond emailed McDonald to “coordinate with [her]

   before [she] send answers to anything of a legal nature.”

107.   McDonald then informed Gleffe that Raymond had forwarded his email to her and that

   she feared for her job because she reported yet another payroll issue to Raymond’s

   supervisor.

                         Defendants Unlawfully Terminate McDonald

108.   McDonald is familiar with how to properly refer an employer to EAP since she was the

   designated Cook County Contact for the Recorder of Deeds Office as shown above.

109.   Defendant Cook County Clerk’s Office also required McDonald to take an EAP training

   session to learn how to properly apply the Program county-wide to its employees.

110.   The next day, Defendant Clerk’s Office, through Giles, terminated McDonald.




                                                                                              15
  Case: 1:22-cv-02143 Document #: 25 Filed: 05/07/23 Page 16 of 27 PageID #:213




111.   Defendants discriminated against Plaintiff’s age and retaliated against her for engaging in

   the aforementioned protected conduct by creating trumped-up, ginned up charges to justify

   firing her which consisted of not complying with a “disciplinary order” that was issued to her

   only 12 days before with little to no instruction.

112.   The purpose of the EAP training was to educate the directors and supervisors on the ways

   to use EAP Program effectively and to prevent it from being used to discriminate, punish, or

   retaliate against employees.

113.   On further belief, Scott Koslov never was trained in the EAP procedures and policies.

114.   McDonald called Magellan and reviewed Kozlov’s directives to them.

115.   Magellan did not know what Kozlov meant by registration.




                                                                                               16
  Case: 1:22-cv-02143 Document #: 25 Filed: 05/07/23 Page 17 of 27 PageID #:214




116.   Casting additional doubt onto the veracity of the stated reason for termination, Defendant

   Yarbrough admitted to McDonald that Raymond’s treatment of her was wrong and that her

   termination was improper.

117.   Defendants failed to adhere to Cook County’s progressive discipline standard by not

   taking certain corrective, disciplinary steps before terminating McDonald and firing her

   without giving her a pre-termination hearing.

118.   Even if Plaintiff had committed the infractions listed as alleged in the termination letter

   Defendants had a long-standing policy that excused similar employees’ behavior or much

   worse behavior.

119.   The EAP Policy is not a “disciplinary measure,” much less the extreme, drastic penalty of

   termination, as it implicates employees’ rights to seek help for an impairment disability.

120.   Magellan did not report McDonald as non-compliant.

121.   On belief, McDonald’s replacement is at least five (5) to 10 years younger than her.

   Yarbrough’s Knowledge, Counselling, and Involvement in McDonald’s Employment

122.   Yarbrough knew about McDonald improper termination and facilitated it, approved it,

   condoned it, or turned a blind eye toward it.

123.   On December 24, 2020, McDonald emailed Yarbrough with a request for reinstatement.

124.   Later in December 2020, Yarbrough instructed one of her employees to tell McDonald

   that if she wanted her job back, she had to file a claim with the Illinois Department of Human

   Rights Commission.

125.   On or about May 12, 2021, Yarbrough invited McDonald over to her private home to

   discuss how McDonald could be reinstated.

126.   Yarbrough admitted that she directed Davis to keep tabs on McDonald’s IDHR charges.




                                                                                                     17
  Case: 1:22-cv-02143 Document #: 25 Filed: 05/07/23 Page 18 of 27 PageID #:215




127.   Yarbrough further admitted that McDonald’s termination was wrong and apologized for

   how she was treated, but further stated that it would be “political suicide” for her to rehire

   McDonald without the façade of the IDHR claim looking as if she was legally mandated to

   rehire McDonald.

128.   On May 17, 2021, McDonald emailed Yarbrough’s email to update the Clerk about the

   status of her IDHR claim.

129.   Yarbrough responded to McDonald from both her personal and work emails as follows:




130.   Later in summer 2021, Yarbrough invited McDonald to her “Summer Soiree” as the

   Clerk’s “special guest.”

131.   Despite Yarbrough’s promises to McDonald, she was never reinstated to her position.

         Yarbrough’s History of Using Jobs as Leverage for Politics or Retaliation

132.   Defendant Yarbrough has engaged in a policy, pattern, and practice of retaliating and

   condoning retaliation against employees or citizens who complain of protected class

   discrimination or report such misconduct.

133.   For example, the Court declined to dismiss the case in Soto v. Yarbrough where Soto

   (former director of Human Resources at the Recorder’s office) alleged that they discriminated

   and retaliated against her on the basis of her political affiliation.


                                                                                                    18
  Case: 1:22-cv-02143 Document #: 25 Filed: 05/07/23 Page 19 of 27 PageID #:216




134.   Giles and Raymond did not want McDonald rehired with the Clerk’s Office.

135.   On belief, Yarbrough did not want to go against political donors like Giles, Raymond, and

   Gleffe who each have donated thousands of dollars to Karen Yarbrough’s campaign.

136.   On belief, Defendants viewed each of Plaintiff’s aforementioned protected activities as

   separate acts of defiance against Yarbrough.

         COUNT I — 42 U.S.C. §1983 – FIRST AMENDMENT RETALIATION
                       (McDonald v. Cook County Clerk’s Office)

137.   Plaintiff realleges and incorporates by reference the prior paragraphs of First Amended

   Complaint as if those paragraphs were fully set forth herein.

138.   At all times relevant hereto, Defendants Cook County Clerk’s Office was a final

   policymaker and at all times acted under color of law.

139.   Defendants intentionally subjected McDonald to unequal and retaliatory treatment by

   denying her the ability to supervise, discipline, and manage her subordinates, writing phony

   disciplinary reports, sending her to mandatory EAP, and unlawfully terminating her, in

   violation of the First Amendment and treating her in an overall disparate manner.

140.   Defendant CCSO created a policy, practice, custom and took express acts that had the force

   and effect of official County policy to retaliate against McDonald when she engaged in

   protected activities when McDonald complained that the actions of Raymond created a hostile

   work environment in retaliation for reporting payroll irregularities to the OIG.

141.   Defendants retaliated against McDonald in violation of her First Amendment rights when

   she was written up and ultimately fired after she reported what she believed to be improper

   actions by her supervisor and the management of payroll to the OIG. The Seventh Circuit has

   repeatedly held that “speech alleging government corruption and malfeasance is of public

   concern in its substance.” Spiegla v. Hull, 371 F.3d 928, 937 (7th Cir. 2004) (collecting cases).



                                                                                                 19
   Case: 1:22-cv-02143 Document #: 25 Filed: 05/07/23 Page 20 of 27 PageID #:217




142.   The reasons provided by the Defendants for the Plaintiff's termination were unfounded and

   merely a pretext. Through the actions of its officials, agents, and employees, the Defendants

   engaged in adverse actions against the Plaintiff that woul d likely deter a reasonable employee

   from reporting or supporting allegations of harassment or retaliation.

143.   At all times, Defendant, by its officials, agents, and employees, was aware of each

   Plaintiff’s protected activities and oppositional conduct based on the foregoing allegations.

144.   The aforementioned acts of the Defendants were reckless, willful, wanton, malicious,

   oppressive, and in callous disregard and indifference to Plaintiff.

145.   Due to the aforementioned policies implemented by the Defendant, Cook County Clerk’s

   Office, the Plaintiff experienced considerable injury and harm resulting from the deprivation

   of her rights, as protected under the First Amendment. The inflicted damages upon the Plaintiff

   include, but are not limited to, loss of wages, loss of benefits, emotional distress, hindered

   career progression, pain and suffering, humiliation, and embarrassment.

WHEREFORE, Plaintiff prays for judgment against Defendants in the form of (a) a finding that

Defendant has injured Plaintiff in violation of 42 U.S.C. § 1983; (b) All wages and benefits

plaintiff would have received but for the First Amendment violations, including but not limited

to back pay, front pay, pre-judgment interest, and reinstatement into his position; (c)

Compensatory damages in an amount to be determined at trial to compensate Plaintiff for the

humiliation, anguish, and emotional distress caused by defendants’ conduct; (d) A permanent

injunction enjoining defendants from engaging in the practices complained of herein; (e) A

permanent injunction requiring that defendants adopt employment practices and policies in

accord with and in conformity to the requirements of 42 U.S.C. § 1983; and (f) A declaratory

judgment that Defendants’ actions violate 42 U.S.C. § 1983.




                                                                                                   20
  Case: 1:22-cv-02143 Document #: 25 Filed: 05/07/23 Page 21 of 27 PageID #:218




       COUNT II – TITLE VII VIOLATION, 42 U.S.C. § 2000e(3)(a) BASED ON AGE
                       (McDonald v. Cook County Clerk’s Office)

146.    Plaintiff realleges and incorporates by reference the prior paragraphs of First Amended

   Complaint as if those paragraphs were fully set forth herein.

147.    Defendant Cook County Clerk’s Office was at all times relevant has employed 20 or more

   employees within Illinois during 20 or more calendar weeks within the current and preceding

   relevant calendar years, and, therefore, is an employer within the meaning of ADEA.

148.    At all times relevant, McDonald has been an employee within the meaning of the ADEA.

149.    Plaintiff 50 years old at the time of the aforementioned adverse actions.

150.    The Defendant's reasons for the adverse action were pretextual and not based on Plaintiff's

   job performance or qualifications and relied on her age in so doing.

151.    Younger employees who were similarly situated to Plaintiff, but under the age of 40, were

   not subjected to the same adverse actions as the Plaintiff.

152.    Plaintiff escalated her complaints of Raymond’s ageist behavior to various supervisors at

   the Defendant Clerk’s Office who did nothing whatsoever to address it, including supervisors

   Baker, Raymond, Kozlov, Giles, and Yarbrough.

153.    Baker, Raymond, Kozlov, Giles, and Yarbrough constituted bona fide supervisors of

   McDonald because they were at all times empowered to take tangible employment actions

   against Plaintiff, at least she had authority to discipline, fire, and reassign employment

   responsibilities.

154.    At no time did Defendant Clerk’s Office investigate Plaintiff’s complaints of age

   discrimination, much less do so thoroughly and promptly.




                                                                                                  21
   Case: 1:22-cv-02143 Document #: 25 Filed: 05/07/23 Page 22 of 27 PageID #:219




155.     Raymond’s age discriminatory animus is evidenced by the close proximity in time between

   her age-based cajoling of Plaintiff in August 2020 and the beginning of her pretextual write-

   ups.

156.     As a direct and proximate result of Raymond’s age-based discriminatory conduct,

   McDonald was demeaned, harassed, written-up for pretextual reasons, arbitrarily referred to

   EAP, and ultimately terminated.

157.     Various employees at the Defendant Clerk’s Office knowledge and acquiescence of such

   discrimination, McDonald has suffered damages, including job loss, loss of pay and benefits,

   compensatory losses in the form of emotional distress, outrage, shame, humiliation,

   embarrassment, mental anguish, and pain and suffering.

WHEREFORE, Plaintiff, YOLANDA MCDONALD, respectfully requests that this Court enter

judgment in their favor and against Defendant Cook County Clerk’s Office, and order Defendant

Cook County Clerk’s Office to pay to Plaintiff all benefits that she would have received but for its

discrimination, including pre-judgment interest, lost pay, compensatory damages in an amount to

be determined at trial, damages for actual emotional distress caused by the Defendant Cook County

Clerk’s Office’s actions and omissions, an award of reasonable attorneys’ fees, costs, and litigation

expenses as allowed by law; and, such other relief as this Court may deem just or equitable.

       COUNT III – TITLE VII VIOLATION, 42 U.S.C. § 2000e(3)(a) - RETALIATION
                        (McDonald v. Cook County Clerk’s Office)

158.     Plaintiff realleges and incorporates by reference the prior paragraphs of this First Amended

   Complaint as if those paragraphs were fully set forth herein.

159.     At all times relevant, Defendant Cook County Clerk’s Office has been an Employer within

   the meaning of Title VII of the Civil Rights Act, 42 U.S.C. 2000e, et seq., in that it has been

   in an industry affecting commerce employing fifteen or more employees for each working day



                                                                                                  22
   Case: 1:22-cv-02143 Document #: 25 Filed: 05/07/23 Page 23 of 27 PageID #:220




   for each of twenty or more calendar weeks in the year prior to this Amended Complaint being

   filed.

160.   At all times relevant, McDonald has been an employee within the meaning of Title VII.

161.   At all times relevant, McDonald engaged in conduct protected by Title VII, including, but

   not limited to, exercising her right to complain of payroll discrepancies to the Cook County

   OIG under the First Amendment when they terminated her employment after she made

   complaints questioning the payroll practices of her supervisors to the OIG and participated in

   investigations and audits relating to potential payroll issues with the OIG.

162.   McDonald has suffered a severe and a pervasive hostile work environment by the actions

   stated in the other paragraphs of this Amended Complaint, including being written up twice

   based on trumped-up, false, and selectively targeted allegations, being arbitrarily referred to

   EAP, failing to meaningfully investigate her allegations about questionable payroll practices,

   and ultimately terminating her.

163.   As a direct and proximate result of Defendants’ unlawful actions, McDonald has suffered

   economic and non-economic damages, including lost pay, benefits, promotional opportunities,

   reputational damage, emotional distress, and general compensatory damages, all as a result of

   Defendant CCSO’s unlawful actions.

WHEREFORE, Plaintiff, YOLANDA MCDONALD, respectfully requests that this Court enter

judgment in their favor and against Defendant Cook County Clerk’s Office in an amount to be

proved at trial, including for lost pay and benefits, compensatory damages up to and including

$300,000, for emotional distress and reputation harms, and order Defendant Cook County Clerk’s

Office to reinstate McDonald to her position and benefits with full make-whole relief, and for all




                                                                                               23
   Case: 1:22-cv-02143 Document #: 25 Filed: 05/07/23 Page 24 of 27 PageID #:221




such other relief to which she is entitled and such other relief as this Court may deem just or

equitable.

       COUNT IV – IHRA CIVIL RIGHTS VIOLATION (AGE AND RETALIATION)
                      (McDonald v. Cook County Clerk’s Office)

164.    Plaintiff realleges and incorporates by reference the prior paragraphs of First Amended

   Complaint as if those paragraphs were fully set forth herein.

165.    IHRA makes it a civil rights violation for any employer to discharge or discipline any

employee on the basis of unlawful discrimination, including age. See 775 ILCS 5/2-102(A).

166.    Plaintiff was employed as a Director of Human Resources with the Defendant Clerk’s

   Office and, therefore, was an employee of Defendant Cook County Clerk’s Office within the

   meaning of IHRA.

167.    Defendant Cook County Clerk’s Office, at all times relevant, employs 15 or more

   employees within Illinois during 20 or more calendar weeks within the current and preceding

   relevant calendar years, and, therefore, is an employer within the meaning of IHRA.

168.    At the time of her termination on December 15, 2020, Plaintiff was 50 years old.

169.    At all times, Raymond was motivated by discriminatory animus based on Plaintiff’s age.

170.    Raymond’s age discriminatory animus is evidenced by the close proximity in time between

   her age-based cajoling of Plaintiff and issuing her phony write-ups, referral to EAP, and

   ultimately terminating her.

171.    Defendant Clerk’s Office did not have a legitimate, non-discriminatory reason for

   terminating McDonald, and it did not rely on a reasonable, lawful factor in so doing.

172.    As a result of Defendant Cook County’s conduct, via its employees, McDonald has

   suffered damages including job loss, loss of pay and benefits, compensatory losses in the form




                                                                                                 24
   Case: 1:22-cv-02143 Document #: 25 Filed: 05/07/23 Page 25 of 27 PageID #:222




   of emotional distress, outrage, shame, humiliation, embarrassment, mental anguish, and pain

   and suffering.

WHEREFORE, for the foregoing reasons, Plaintiff requests that this Court enter judgment in her

favor, and against Defendant Clerk, and enter and order all appropriate relief, to include back pay

and back benefits as allowed by law, compensatory damages in an amount up to and including

$1.5 million dollars, make whole relief for all losses resulting from the unlawful discrimination,

injunctive relief requiring Defendants to cease and desist from violating the age discrimination

provisions of the IHRA, reasonable attorneys’ fees and litigation costs, pre-judgment interest, and

all other available and appropriate relief.

    COUNT V – VIOLATION OF THE WHISTLEBLOWER ACT (740 ILCS § 174/1)
                        (McDonald v. All Defendants)

173.   Plaintiff realleges and incorporates by reference the prior paragraphs of First Amended

   Complaint as if those paragraphs were fully set forth herein.

174.   Plaintiff complained to various employees employed by Defendant Cook County Clerk’s

   Office including the legal department and comptroller’s department about the ongoing payroll

   problems and Raymond’s unlawful harassment. See 740 ILCS 174/15(b). Plaintiff’s complaints

   went unanswered.

175.   When Defendants subjected Plaintiff to the various materially adverse employment

   actions, they were aware that she had reported this misconduct. See Spalding v. City of

   Chicago, 186 F. Supp. 3d 884, 918 (N.D. Ill. 2016).

176.   After Plaintiff complained, she alleges that Defendants retaliated against her by the actions

   as described herein, including: harassing and demeaning her, stripping away her supervisory

   duties, subjecting her to trumped-up write-ups, arbitrarily referring her to a mandatory EAP,




                                                                                                 25
   Case: 1:22-cv-02143 Document #: 25 Filed: 05/07/23 Page 26 of 27 PageID #:223




   and ultimately terminating her, which all constitute materially adverse employment actions

   that altered the terms and conditions of his employment.

177.   McDonald had reasonable cause to believe that the information disclosed was a violation

   of state or federal law, rule or regulation including mismanagement of public funds, payroll

   irregularities, and covering up time theft.

178.   Defendants were prohibited from retaliating against Plaintiff for reporting clear mandates

   of public policy, such as enforcing state and federal civil rights statutes and laws and the policy

   of furthering the investigation of a hostile work environment.

179.   Each Defendant made, took part in, assisted in, and/or participated in the decision to

   retaliate against Plaintiff.

180.   Plaintiff’s termination was done in retaliation for her protected disclosures to the OIG.

181.   McDonald was subjected to retaliation in violation of rights guaranteed to her by the

   Illinois Whistleblower Act, 740 ILCS § 174/15, and she has suffered substantial losses

   including job loss, salary and benefits losses, fringe benefits losses, emotional distress and

   mental pain and suffering, and loss of a career in law enforcement.

WHEREFORE, for the foregoing reasons, Plaintiff, Yolanda McDonald, requests that this Court

enter judgment in her favor and against Defendants in an amount to be proved at trial, including

(1) reinstatement with the same seniority status that Plaintiff would have had, but for the

termination; (2) back pay, with interest; and (3) compensation for any damages, including litigation

costs and reasonable attorney’s fees.” 740 ILCS 174/30.

                                  COUNT VI – INDEMNIFICATION
                                     (McDonald v. Cook County)

182.   Plaintiff realleges and incorporates by reference the prior paragraphs of First Amended

   Complaint as if those paragraphs were fully set forth herein.



                                                                                                   26
   Case: 1:22-cv-02143 Document #: 25 Filed: 05/07/23 Page 27 of 27 PageID #:224




183.   Defendant Cook County is obligated to assume financial responsibility for the actions

   committed by its officials or employees.

WHEREFORE, for the foregoing reasons, Plaintiff, requests that this Court enter judgment in her

favor, and against Defendant Cook County and that this Court enter an order requiring Defendant

County to indemnify any other defendants in this matter.

                             COMMON PRAYER FOR RELIEF

WHEREFORE, and that there is sought, Plaintiff, prays that this Honorable Court:

   a) Conduct a mediated settlement conference or to refer the case to its court-annexed

       mediation program to assist the parties to bring about a settlement of this case;

   b) Grant court costs and reasonable attorneys’ fees; and

   c) Grant such additional relief as the Court deems just and proper under the circumstances.

                           JURY DEMANDED ON ALL COUNTS


                                                                          Respectfully Submitted,
                                                                              Yolanda McDonald

                                                              By:__________________________
                                                                           Plaintiff’s Attorney
Dated: May 7, 2023

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                                                                                              27
